   Case 3:16-cr-00547-RK Document 20 Filed 11/29/23 Page 1 of 5 PageID: 107


 NJProb 12C/D
 (6/23)
                                  United States Probation Office
                                   United States District Court
                                  for the District of New Jersey

                Petition for Summons or Warrant for Individual under Supervision

                                           November 29, 2023

 Name of Individual Under Supervision: Sheila Kahl Docket Number: 16-00547-001
 Reg. Number: 70569-050 PACTS Number: 2987413

 Name of Current Judicial Officer: THE HONORABLE ROBERT KIRSCH
                                         UNITED STATES DISTRICT JUDGE

 Original Offense: Count One: Conspiracy to Commit Health Care Fraud, 18 U.S.C. § 1349 a Class C
                     Felony
                     Count Two: Conspiracy to Defraud the United States, 18 U.S.C. § 371 a Class D
                     Felony

 Original Sentence: Imposed on 05/13/2019; 13 months imprisonment, 3 years supervised release

 Current Custodial Status: At Liberty

 Special Conditions: Special Assessment - $200 (paid). Restitution - $1,200,000.00, Mental Health
 Treatment, Employment Requirements/Restrictions, No New DebVCredit, Financial Disclosure, Self-
 Employment/Business Disclosure, Forfeiture


 Date Supervision Commenced: 12/08/2020 Date Supervision Expires: 12/07/2023

 Assistant U.S. Attorney: Jacob T. Elberg, 970 Broad Street, 7th Floor, Newark, New Jersey 07102,
 (973) 645-2700

 Defense Attorney: Stacy Aim Biancamano, 312 North Avenue East, Suite 7, Cranford, New Jersey
 07016-2464,.


 PETITIONING THE COURT:
 H To issue a warrant
 W: To issue a summons
 H To amend a previously filed pedtion
 THE COURT ORDERS:
      The Issuance of a Warrant. THIS DOCUMENT SHALL BE SEALED UNTIL ARREST OF THE
      INDIVIDUAL UNDER SUPERVISION.
      The Issuance of a Summons (as recommended by Probation).
^F' Date and time of midal appearance: ^^Jz^ ^t OO^frjn Courtroom lc _'before
     Judge 3~-Srenckn D/W ' ' .

 r The petition dated _ and filed with the Court on _ is HEREBY AMENDED.
 H No Action. ,^ f ^..^

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                    Signature of Judicial Officer^"— -—-... Date
  Case 3:16-cr-00547-RK Document 20 Filed 11/29/23 Page 2 of 5 PageID: 108


COURT ACTION TO DATE:

The term of supervised release commenced on December 8,2020. To date there have not been any actions
taken to address these violations. On November 27, 2023, the probation office notified the Court of the
upcoming expiration of supervised release and the unpaid restitution balance. The Court instructed that a
violation petition be submitted.



DETAILS OF VIOLATIONS:


 Violation Number Nature ofNoncompliance

            1 Failure to satisfy financial obligations.

                          Ms. Kahl has failed to pay $1,188,974.35 restitution in full prior to the scheduled
                          expiration of supervised release on December 7, 2023. Ms. Kahl paid $3,959.66
                          toward the joint and several restitution obligation.

                          The Probation Office has determined this conduct constitutes a Grade C
                          violation.

           2 The individual under supervision has violated the special supervision condition
                      which states 'You are prohibited from incurring any new credit charges,
                          opening additional lines of credit, or incurring any new monetary loan,
                          obligation, or debt, by whatever name known, without the approval of the
                          ILS. Probation Office. You must not encumber or liquidate interest in any
                          assets unless it is in direct service of the fine and/or restitution obligation or
                          otherwise has the expressed approval of the Court.'


                          On November 21, 2023, our office conducted an Equifax credit inquiry, and it
                          revealed that Ms. Kahl opened numerous credit accounts without the approval of
                          the U.S. Probation Office.


                          The Probation Office has determined this conduct constitites a Grade C
                          violation.




INDWIDUAL UNDER SUPERVISION'S COMMENTS AS TO ALLEGED VIOLATION(S):

Ms. Kahl advised she was not aware of the special condition prohibiting her from opening additional lines
of credit which is why she did not seek permission.

STATUTORY PROVISIONS AND CASE LAW:

The individual under supervision's exposure to all penalties is presented in the Appendix.


Pursuant to 18 U.S.C. § 3583(i), the power of the court to revoke a term of supervised release for violation
of a condition of supervised release, and to order the individual under supervision to serve a term of
imprisonment and, subject to the limitations in subsection (h) of 18 U.S.C. § 3583, a further term of
supervised release, extends beyond the expiration of the term of supervised release for any period
reasonably necessary for the adjudication of matters arising before its expiration if, before its expiration, a
warrant or summons has been issued on the basis of an allegation of such a violation. Reference is made to
the Third Circuit's ruling in U.S. v. Merlino, 785 F.3d 79 (3rd Cir. 2015).

18 U.S.C. § 3583(e)(3) provides for revocation of a term of supervised release if the court finds by a
preponderance of the evidence that the individual under supervision violated a condition of supervised
  Case 3:16-cr-00547-RK Document 20 Filed 11/29/23 Page 3 of 5 PageID: 109


                                                                                        NJProbl2C/D-page3
                                                                                                    Sheila Kahl

release. Accordingly, the court will require the individual under supervision to serve in prison all or part of
the term of supervised release authorized by statute for the offense that resulted in such term ofsupendsed
release without credit for time previously spent on post-release supervision.


Cases in which the original offense of conviction was committed on or after April 30, 2003, are subject to
the provisions of the PROTECT Act (Pub. L 108-21,117 Stat. 650), which amended 18 U.S.C. § 3583(e)(3)
with regard to the custodial exposure upon revocation. The amount of custodial time available to the Court
upon revocation is the maximum term authorized at 18 U.S.C. § 3583(e)(3). This available time is not
reduced by the custodial time imposed as a result of any prior revocation of supervision. Reference is made
to the Third Circuit's ruling in U.S. v. Williams, 675 F.3d 275 (3rd Cir. 2012).

Pursuant to 18 U.S.C. § 3583(e)(3), if revoked, Sheila Kahl is facing a maximum statutory penalty of 2
years imprisonment for violating the term of supendsed release attached to the underlying conviction on
Count One, a Class C felony. Pursuant to the Third Circuit's ruling in U.S. v. Dees, 467 F.3d 847 (3rd Cir.
2006), a District Court has the authority to impose consecutive prison sentences upon revocation of
concurrent terms of supervised release which resulted from the imposition of multiple terms of
imprisonment. The aggregate exposure upon revocation for the individual under supervision is therefore 2
years.


Pursuant to 18 U.S.C. § 3583(h), when a term of supemsed release is revoked and the individual under
supervision is required to serve a term of imprisonment, the court may include a requirement that the
individual under supervision be placed on a term of supervised release after imprisonment. The amount of
time available for reimposition of supervised release in cases in which the original offense of conviction
was committed on or after April 30, 2003, is the maximum term of supervision allowed by statute for the
original offense of conviction minus any term of imprisonment imposed upon revocation plus custodial
time ordered on prior revocations.


Pursuant to 18 U.S.C. § 3624(e), when multiple terms of supervised release are (re)imposed they must be
imposed concurrent to each other.

POLICY STATEMENT/GUffiELINE PROVISIONS:

The individual under supervision's exposure to all penalties is presented in the Appendix.


The U.S. Sentencing Commission has promulgated specific policy with respect to probation and supervised
release violations. Pursuant to § 7B1.4(a) of the guidelines, with a Criminal History Category of I and a
Grade A violation, the individual under supervision faces a guideline range of 12 to 18 months custody.
For a Grade B violation, the individual under supervision faces a guideline range of 4 to 10 months custody.
For a Grade C violation, the individual under supervision faces a guideline range of 3 to 9 months custody.

Upon a finding of a Grade A or B violation, pursuant to USSG § 7B1.3(a)(l), the court will revoke
supervised release.


Upon a fmdmg of a Grade C violation, pursuant to USSG § 7B1.3(a)(2), the court may (A) revoke probation
or supendsed release or (B) extend the term of probation or supervised release and/or modify the conditions
of supervision.

Pursuant to USSG § 7B1.3(c)(l), in the case of a Grade B or C violation, where the minimum term of
imprisonment determined under § 7B 1.4 is at least one month but not more than six months, the minimum
term may be satisfied by (A) a sentence of imprisonment or (B) a sentence of imprisonment that includes a
term of supervised release with a condition that substitutes community confinement or home detention
according to the schedule in § 5Cl.l(e) for any portion of the minimum term.
  Case 3:16-cr-00547-RK Document 20 Filed 11/29/23 Page 4 of 5 PageID: 110


                                                                                     NIProbl2C/D-page4
                                                                                               SheilaKahl

Pursuant to USSG § 7B1.3(c)(2), in the case of a Grade B or C violation, where the minimum term of
imprisonment determined under § 7B 1.4 is more than six months but not more than ten months, the
mmumum term may be satisfied by (A) a sentence of imprisonment or (B) a sentence of imprisonment that
includes a term of supervised release with a condition that substitutes community confinement or home
detention according to the schedule in § 5Cl.l(e), provided that at least one-half of the minimum term is
satisfied by imprisonment.

Pursuant to USSG § 7B 1.3 (d), any restitution, fine, community confinement, home detention, or
intermittent confmement previously imposed in connection with the sentence for which revocation is
ordered that remains unpaid or unserved at the time of revocation will be ordered to be paid or served in
addition to the sanction determined under § 7B 1.4, and any such unser^ed period of community
confinement, home detention, or intermittent confinement may be converted to an equivalent period of
imprisonment.


Pursuant to USSG § 7B1.5(b), upon revocation of supervised release, no credit will be given toward any
term of imprisonment ordered for time served on post-release supervision.




        I declare under penalty of perjury that the foregoing is true and correct.


                                                           Respectfully submitted,

                                                           SUSAN M. SMALLEY, Chief
                                                           U.S. Probation Officer
                                                                    ^,


                                                            By: LUKE N. WALKER
                                                                 U.S. Probation Officer


/lnw

APPROVED:


    ^^/4/ 11/29/2023

STEVENALFREY Date
Supervising U.S. Probation Officer
 Case 3:16-cr-00547-RK Document 20 Filed 11/29/23 Page 5 of 5 PageID: 111


                                                                       NJProbl2C/D-page5
                                                                                  SheilaKahl

                                     APPENDIX
                         Statitory and guideline exposure



VIOLATION GRADE: A
CRIMINAL HISTORY CATEGORY: I

                      Statutory                         Guideline
                      Provisions                        Provisions

CUSTODY:              2 years                           12-18months

SUPERVISED RELEASE:   3 years                           3 years
                      (less any term of imprisonment    (less any term of imprisonment
                      imposed upon revocation, plus     imposed upon revocation, plus
                      custodial time imposed on prior   custodial time imposed on prior
                      revocations)                      revocations)




VIOLATION GRADE: B
CRIMINFAL HISTORY CATEGORY: I

                      Statutory                         Guideline
                      Provisions                        Provisions

CUSTODY:              2 years                           4-10 months

SUPERVISED RELEASE:   3 years                           3 years
                      (less any term of imprisonment    (less any term of imprisonment
                      imposed upon revocation, plus     imposed upon revocation, plus
                      custodial time imposed on prior   custodial time imposed on prior
                      revocations)                      revocations)




VIOLATION GRADE: C
CRIMINAL HISTORY CATEGORY: I

                      Statutory                         Guideline
                      Provisions                        Provisions

CUSTODY:              2 years                           3-9 months

SUPERVISED RELEASE:   3 years                           3 years
                      (less any term of imprisonment    (less any term of imprisonment
                      imposed upon revocation, plus     imposed upon revocation, plus
                      custodial time imposed on prior   custodial time imposed on prior
                      revocations)                      revocations)
